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FOR THE
NORTHERN DISTRICT OF CALIFORNIA

VENUE: SAN JOSE

UNITED STATES OF AMERICA, AUG 7-5 Wig
V. Wie

ANTHONY SCOTT LEVANDOWSKI,

ch 10 00377
DEFENDANT(S L Lt K

INDICTMENT SVK

18 U.S.C. § 1832(a)(1), (2), (3) & (4) — Theft and Attempted Theft of Trade Secrets;
18 U.S.C. §§ 1843 and 2323 — Criminal Forfeiture.

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DAVID L. ANDERSON (CABN 149604) SUSAN SOONG,
United States Attorney wor gt u ee caren ee 1.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION

UNITED STATES OF AMERICA, CR can) Q Q 3 " ar

Plaintiff, VIOLATIONS: Title 18, United States a
Sections 1832(a)(1), (2), (3) & (4) — Theft and
Attempted Theft of Trade Secrets; Title 18, United
States Code, Sections 1843 and 2323 — Criminal
Forfeiture.

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V.
ANTHONY SCOTT LEVANDOWSKI,

Defendant. San Jose Venue

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INDICTMENT

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The Grand Jury charges:

Introductory Allegations

1. In or about 2009, Google Inc. (“Google”) began a self-driving car project known within
the company as Project Chauffeur. Google employees working on Project Chauffeur designed and
developed both the hardware and software necessary for fully autonomous vehicles. Self-driving
vehicles, and many of their component parts, were intended for use in interstate commerce. At all times
relevant to this Indictment, Google owned all of the Project Chauffeur intellectual property, including
but not limited to, the trade secrets at issue. Google was headquartered, and Project Chauffeur
maintained offices in, Mountain View, California.

2. In December 2016, after the events outlined in this Indictment, Project Chauffeur became

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Waymo, a stand-alone company with over 600 employees. Waymo operated alongside Google and
other technology companies under the umbrella of Alphabet Inc.

3. Uber Technologies, Inc. (“Uber”) began as a ridesharing app in or about 2009. By 2015,
Uber had expanded its business to include food delivery and other logistics. That same year, Uber
began investing in autonomous vehicle technologies. At all times relevant to this Indictment, Uber was
headquartered in San Francisco, California.

4, Anthony LEVANDOWSK] joined Google as an engineer in or about April 2007. He was
one of the founding members of Project Chauffeur. In or about 2007, 2009, and 2012,
LEVANDOWSKI signed employment agreements with Google. Each employment agreement
contained, among other provisions, a Confidential Information paragraph, which obligated
LEVANDOWSKI to hold Google’s Confidential Information, including trade secrets, in confidence.
On or about January 27, 2016, LEVANDOWSKI resigned from Google without notice. At the time of
his departure, LEVANDOWSKI was in charge of the Light Detection and Ranging (LiDAR)
engineering team within Project Chauffeur.

5. Without disclosing it to Google, in or about the spring of 2012, LEVANDOWSKI
participated in the formation of a LIDAR company later incorporated as Odin Wave LLC (“Odin
Wave”). Odin Wave had a handful of employees and offices in Berkeley, California. The company
worked to develop a high-accuracy mapping LIDAR sensor. In or about late 2013, Odin Wave began
doing business as Tyto LIDAR LLC (“Tyto”) and moved to offices in San Leandro, California.
Paperwork formalizing the name change was filed in or about February 2014. By 2015, Tyto was
attempting to market its LIDAR technology to self-driving companies, including Uber.

6. No later than in or about September 2015, LEVANDOWSKI decided to leave Google
and form a new self-driving company. LEVANDOWSKI’s new company was initially called 280
Systems, Inc. but later changed its name to Ottomotto Inc. (“Ottomotto”. In or about fall 2015,
LEVANDOWSKI began having discussions with executives at Uber regarding Uber potentially making
an investment in or acquiring Ottomotto. Those negotiations intensified in December 2015 and January
2016, with Uber and Ottomotto signing a term sheet in February 2016.

7. On or about April 11, 2016, Uber’s Board of Directors approved the Uber/Ottomotto

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transaction. Shortly thereafter, Ottomotto acquired Tyto. Uber’s acquisition of Ottomotto closed in

August 2016. (By the time of the acquisition, Ottomotto had been re-incorporated as Ottomotto LLC

and Otto Trucking LLC.)
The Technology
8. The technology and information at issue involved the research, development, and

production of LiDAR technology for self-driving vehicles. A LiDAR sensor is typically mounted on the
exterior of a self-driving vehicle. It works by sending out an array of high-power, pulsing lasers into the
surrounding environment. The laser beams bounce off surrounding objects and return to the sensor,
which measures the qualities of the return signals to determine the size, shape, and distance of
surrounding objects. Self-driving companies have used LiDAR for critical functions, including but not
limited to, mapping and perception. For mapping, LiDAR can be used to create a three-dimensional
map of the static environment in which the vehicle will operate. Regarding perception, LIDAR
dynamically detects what is happening around a vehicle as it travels through the previously mapped
environment. In real time, it provides information to the vehicle about other vehicles, pedestrians, and
obstacles on the road.

9. Through years of research and testing, and millions of dollars in investment, Project
Chauffeur developed its own customized LiDAR systems. Those custom systems were used for both
mapping and perception and consisted of thousands of individual hardware and software components.
The success of the LiDAR effort was critical to the overall success of Project Chauffeur. Moreover,
having custom LiDAR, as opposed to commercially available LIDAR, was a key differentiator between
Project Chauffeur and its competitors in the 2015 and 2016 timeframe.

10. The Google employees working on Project Chauffeur used secure, password-protected
repositories to store their files, with access available to employees in the course of their job
responsibilities, as authenticated by valid user credentials. Project Chauffeur’s repositories included the
following:

a. SVN: Project Chauffeur engineers used computer-assisted design (CAD) software to
design hardware, including custom LiDAR. CAD files, including circuit board drawings and

schematics, were housed on a subversion, or SVN, server hosted on Google’s network. To

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access SVN, Project Chauffeur employees had to email the SVN administrator to request a

username and password.

b. Google Drive: The Project Chauffeur team used Google’s corporate drive as a repository
for non-CAD files, such as presentations and spreadsheets. Only Google employees could
access this Drive, after authentication of their credentials on the Google network.

11. In the months before his departure from Google, LEVANDOWSKI downloaded
thousands of Project Chauffeur files. On or about December 11, 2015, he downloaded approximately
14,000 files from SVN. These files contained critical engineering information about the hardware used
on Project Chauffeur self-driving vehicles, including schematics for the printed circuit boards used in
various custom LiDAR products. On or about December 14, 2015, LEVANDOWSKI transferred the
SVN files from his Google laptop to his personal laptop. Additionally, between in or about October
2015 and January 2016, LEVANDOWSKI downloaded, directly to his personal laptop, at least 20 files
from the Google Drive, including instructions for calibrating and tuning Google’s custom LiDAR and an
internal tracking document setting forth, among other things, technical goals for each team within

Project Chauffeur.

COUNTS ONE THROUGH THIRTY-THREE: (18 U.S.C. §§ 1832(a)(1), (2), (3) & (4) - Theft and

Attempted Theft of Trade Secrets)

12. The allegations contained in Paragraphs 1 through 11 are realleged and incorporated as if
fully set forth herein.

13. On or about the dates set forth in the separate counts below, in the Northern District of
California and elsewhere, the defendant,

ANTHONY SCOTT LEVANDOWSKI,

intending to convert a trade secret that was related to a product and service used in and intended for use
in interstate and foreign commerce to the economic benefit of anyone other than the owner of that trade
secret, and knowing and intending that the offense would injure the owner of that trade secret, as
specifically alleged in each of Counts One through Thirty-three below:

a. knowingly stole, and without authorization appropriated, took, carried away, concealed,

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and by fraud, artifice, and deception obtained trade secrets belonging to Google, and attempted

to do so;

b. knowingly and without authorization copied, duplicated, sketched, drew, downloaded,

uploaded, altered, photocopied, replicated, transmitted, delivered, sent, communicated, and

conveyed trade secrets belonging to Google and attempted to do so; and

c.

knowingly and without authorization received, bought, and possessed trade secrets

belonging to Google, and attempted to do so, knowing the same to have been stolen and

appropriated, obtained, and converted without authorization:

Count Date File Name Description Source
One 12-11-15 | projects/Laser/GBr/gbr-laser- Transmit Block SVN
module/3-1-0/gbr-laser-moduleA-3-1- | Configuration
O/laserA.PcbDoc
Two 12-11-15 | projects/Laser/GBr/gbr-laser- Transmit Block SVN
module/3-1-0/gbr-laser-moduleB-3-1- | Configuration
0/laserB.PcbDoc
Three | 12-11-15 | projects/Laser/GBr/gbr-laser- Transmit Block SVN
module/3-1-0/gbr-laser-moduleC-3-1- | Configuration
O/laserC.PcbDoc
Four 12-11-15 | projects/Laser/GBr/gbr-laser- Transmit Block SVN
module/3-1-0/gbr-laser-moduleD-3-1- | Configuration
O/laserD.PcbDoc
Five 12-11-15 | projects/Laser/GBr/gbr-laser- Transmit Block SVN
module/3-1-0/gbr-laser-moduleE-3-1- | Configuration
O/laserE.PcbDoc
Six 12-11-15 | projects/Laser/GBr/gbr-laser- Transmit Block SVN
module/3-1-0/gbr-laser-moduleF-3-1- | Configuration
0/LsrBrdF.PcbDoc
Seven | 12-11-15 | projects/Laser/GBr/gbr- Receiver Schematic | SVN
motherboard/gbr-motherboard_3-0- and Structure
O/receiver.SchDoc
Eight 12-11-15 | projects/Laser/GBr/gbr- Receiver DAC SVN
motherboard/gbr-motherboard_3-0- Circuit
0/DAC_revr.SchDoc
Nine 12-11-15 projects/Laser/GBr/gbr- Receiver Flip-flop SVN
motherboard/gbr-motherboard 3-0- | Circuit
0/flop.SchDoc
Ten 12-11-15 | projects/Laser/GBr/gbr-motor/gbr- Motor Design SVN
motor 2-5-0/gbr-motor.PcbDoc
Eleven | 12-11-15 | projects/Laser/PBr/pbr-motor- Motor Design SVN
pcb/pbr-motor-pceb_1-1-4/pbr-motor.
PebDoc

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Twelve | 12-11-15 | projects/Laser/PBr/pbr-flex-clock/pbr- | Use and Structure of | SVN
flex-clock_1-4-1/pbr-flex-clock. a Flex PCB
PcbDoc
Thirteen | 12-11-15 | projects/Laser/PBr/pbr-receiver/pbr- | APD Circuit Design | SVN
receiver_1-4-1/apd.SchDoc
Fourteen | 12-11-15 | projects/Laser/PBr/pbr- Receiver Schematic | SVN
motherboard/pbr-motherboard-1-14- | and Structure
O/receiver.SchDoc
Fifteen | 12-11-15 | projects/Laser/PBr/pbr- Receiver DAC SVN
motherboard/pbr-motherboard-1-14- | Circuit
0/DAC_revr.SchDoc
Sixteen | 12-11-15 | projects/Laser/PBr/pbr- Receiver Flip-flop SVN
motherboard/pbr-motherboard-1-14- | Circuit
0/flop.SchDoc
Seventeen | 12-11-15 | projects/Laser/PBr/pbr- APD Circuit Design | SVN
motherboard/pbr-motherboard-1-14-
Q/APD_BIAS.SchDoc
Eighteen | 12-11-15 | projects/Laser/K Br/kbr- Pulse Control Circuit | SVN
motherboard/kbr-motherboard-]-5-
0/pulse_shaper.SchDoc
Nineteen | 12-11-15 | projects/Laser/TBr/tbr- Receiver Schematic | SVN
motherboard/tbr-motherboard_4-2- and Structure
O/receiver.SchDoc
Twenty | 12-11-15 | projects/Laser/TBr/tbr- Receiver DAC SVN
motherboard/tbr-motherboard_4-2- Circuit
0/DAC_revr.SchDoc
Twenty- | 12-11-15 | projects/Laser/TBr/tbr- Flip-flop Circuit SVN
one motherboard/tbr-motherboard_4-2-
0/flop.SchDoc
Twenty- | 12-11-15 | projects/Laser/YBr/ybr-pulser/ybr- Laser Pulse Driver SVN
two pulser_1-1-0/driver.SchDoc Design
Twenty- | 12-11-15 | projects/Laser/YBr/ybr-rx- Receiver Module SVN
three module/ybr-rx-module_1-0-0/ybr- Design
rx_module.SchDoc
Twenty- | 12-11-15 | projects/Laser/BBr/bbr- Laser Pulse Driver SVN
four motherboard/bbr-motherboard_1-0- | Design
0/driver.SchDoc
Twenty- | 12-11-15 | projects/Laser/CBr/laser_module_test/ | Laser Pulser Circuit | SVN
five laser_module_test_1-0- Schematic
2B/laser.SchDoc
Twenty- | 12-11-15 | projects/Laser/CBr/laser Simulation Models SVN
six _module_test/spice for Laser Pulser
sim/laser_ module _1-0-1.asc Circuit
Twenty- | 11-19-15 | Google Fiber Laser for Lidar Presentation re Google
seven Project Chauffeur’s | Drive
Unique Fiber Laser
Design
INDICTMENT 6

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Twenty- | 12-18-15 | Thermal Rotary Coupling Presentation re Google
eight LiDAR Engineering | Drive
Issue
Twenty- | 01-04-16 | PBR Intensity Calibration Instructions for how | Google
nine to calibrate long- Drive
range LIDAR

intrinsic properties
once it is installed on
vehicle

Thirty | 01-04-16 | Pbr Extrinsic Calibration Instructions for how | Google
to calibrate long- Drive
range LiDAR to
function properly
with mid-range
LiDAR on vehicle

Thirty- | 01-04-16 | Tx and Rx tuning Instructions Instructions for Google
one checking that the Drive
laser in the long-
range LiDAR is
positioned correctly
and meets certain

criteria
Thirty- | 01-04-16 | TBR TESTING STATION Manual for various Google
two quality control tests | Drive

and assembly steps
to be performed on
short-range LIDAR
during
manufacturing

Thirty- | 01-11-16 Chauffeur TL weekly updates - Q4 Internal Project Google
three 2015 Chauffeur Tracking | Drive
and Planning

Document

Each in violation of Title 18, United States Code, Sections 1832(a)(1), (2), (3) & (4).

FORFEITURE ALLEGATION: (18 U.S.C. §§ 1834 and 2323 — Proceeds and Property Involved in
Theft of Trade Secrets)

14. The allegations contained in Counts One through Thirty-three of this Indictment are
hereby realleged and incorporated as if fully set forth here. Upon conviction of any of those offenses,
the defendant,

ANTHONY SCOTT LEVANDOWSKI,
shall forfeit to the United States of America, pursuant to Title 18, United States Code, Sections 1834 and

2323, any property used, or intended to be used, in any manner or part to commit or facilitate the

INDICTMENT 7

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commission of the offenses, and any property constituting or derived from any proceeds obtained

directly or indirectly as a result of the commission of the offenses.

15. If any of the property described above, as a result of any act or omission of the defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
G. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided without
difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,
United States Code, Section 853(p), as incorporated by Title 18, United States Code, Section 2323(b).

All pursuant to Title 18, United States Code, Sections 1834 and 2323.

DATED: $- 1S sal 4 A TRUE BILL.
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FOREPERSON ~

DAVID L. ANDERSON
United States Attorney

KATHERINE L. WAWRZYNIAK

ANDREW F. DAWSON
AMIE D. ROONEY
Assistant United States Attorneys

INDICTMENT 8g

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AO 257 (Rev. 6/78)

By: L] comptaint [1 INFORMATION INDICTMENT
[_] SUPERSEDING

ALAS BION - IN U.S. DISTRICT COURT

Name of District Court, and/or Judge/Magistrate Location

NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION

19 TRICT COURT. 0037

—— OFFENSE CHARGED
18 U.S.C. § 1832(a)(1), (2), (3) & (4) - Theft and Attempted [_] Petty
Theft of Trade Secrets; and
18 U.S.C. §§ 1843 and 2323 - Criminal Forfeiture. E] Minor [" DEFENDANT - U.S
Ol Misde-
meanor D Anthony Scott Levandowski
Felony
PENALTY: Maximum Penalties (per Count):
10 years imprisonment;
$250,000 fine, or twice the gross gain/loss;
$100 special assessment; and
3 years’ supervised release. |

DEFENDANT

PROCEEDING

Name of Complaintant Agency, or Person (& Title, if any)

Federal Bureau of Investigation

person is awaiting trial in another Federal or State Court,
L give name of court

this person/proceeding is transferred from another district
L] per (circle one) FRCrp 20, 21, or 40. Show District

this is a reprosecution of
charges previously dismissed

L which were dismissed on motion SHOW
of: DOCKET NO.
C] U.S. ATTORNEY C] DEFENSE \
this prosecution relates to a
pending case involving this same
defendant MAGISTRATE

prior proceedings or appearance(s)
before U.S. Magistrate regarding this
defendant were recorded under

\ CASE NO.
Name and Office of Person

Furnishing Information on this form DAVID L. ANDERSON
[x] U.S. Attorney [] Other U.S. Agency

Name of Assistant U.S.

Attorney (if assigned) Katherine L. Wawrzyniak

PROCESS:
[_] SUMMONS [_] NO PROCESS* WARRANT

lf Summons, complete following:
[_] Arraignment [] Initial Appearance

Defendant Address:

Date/Time:

Comments:

ADDITIONAL INFORMATION OR COMMENTS

IS NOTIN CUSTODY
Has not been arrested, pending outcome this proceeding.
1) If not detained give date any prior
summons was served on above charges >

2) [_] Is a Fugitive

3) [_] !s on Bail or Release from (sharp ict) E D
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[] Federal LJ State

IS IN CUSTODY
4) [_] On this charge

5) [-] On another conviction

6) [_] Awaiting trial on other charges
If answer to (6) is "Yes", show name of institution

Has detainer C] Yes He.
been filed? [[] No F

filed

DATE OF » Month/Day/Year

ARREST

Or... if Arresting Agency & Warrant were not

DATE TRANSFERRED Month/Day/Year

TO U.S. CUSTODY

[| This report amends AO 257 previously submitted

Bail Amount: No bail

* Where defendant previously apprehended on complaint, no new summons or
warrant needed, since Magistrate has scheduled arraignment

Before Judge:

